                       Case 22-05012-hlb                      Doc 49       Entered 06/07/23 21:43:31                       Page 1 of 3
                                                               United States Bankruptcy Court
                                                                     District of Nevada
HERMAN MENEZES, LLC,
    Plaintiff                                                                                                          Adv. Proc. No. 22-05012-hlb
BRESCIANI,
    Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0978-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 05, 2023                                               Form ID: nstap713                                                         Total Noticed: 10
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 07, 2023:
Recip ID                   Recipient Name and Address
aty                    +   LUKE BUSBY, 316 CALIFORNIA AVE, RENO, NV 89509-1650
ust                    +   JOHN W. NEMECEK, DOJ-UST, 301 NORTH MAIN STREET, STE 1150, WICHITA, KS 67202-4811
dft                    +   ALVIN BRESCIANI, 6086 WHITEWATER WAY, RENO, NV 89523-1730
pla                    +   HERMAN MENEZES, LLC, LUKE BUSBY, ESQ., 316 CALIFORNIA AVE, RENO, NV 89509-1650

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion17.sf.ecf@usdoj.gov
                                                                                        Jun 06 2023 00:32:00      DONNA LEE JENSEN, OFFICE OF THE
                                                                                                                  UNITED STATES TRUSTEE, 235 PINE
                                                                                                                  STREET, STE 700, SAN FRANCISCO, CA
                                                                                                                  94104-2759
ust                    + Email/Text: jared.a.day@usdoj.gov
                                                                                        Jun 06 2023 00:32:00      JARED A DAY, OFFICE OF THE U.S.
                                                                                                                  TRUSTEE, 300 BOOTH STREET, #3009, RENO,
                                                                                                                  NV 89509-1362
ust                    + Email/Text: USTPRegion17.RE.ECF@usdoj.gov
                                                                                        Jun 06 2023 00:32:00      NICHOLAS STROZZA, 300 BOOTH ST RM
                                                                                                                  3009, RENO, NV 89509-1362
ust                        Email/Text: cameron.m.gulden@usdoj.gov
                                                                                        Jun 06 2023 00:32:00      CAMERON M. GULDEN, DOJ-UST, 300
                                                                                                                  BOOTH ST, ROOM 3009, RENO, NV 89509
ust                    + Email/Text: ustpregion17.sf.ecf@usdoj.gov
                                                                                        Jun 06 2023 00:32:00      TRACY HOPE DAVIS, OFFICE OF THE U.S.
                                                                                                                  TRUSTEE, 235 PINE ST #700, SAN
                                                                                                                  FRANCISCO, CA 94104-2759
ust                    + Email/Text: USTPRegion17.RE.ECF@usdoj.gov
                                                                                        Jun 06 2023 00:32:00      WILLIAM B COSSITT, U.S. TRUSTEE'S
                                                                                                                  OFFICE, 300 BOOTH ST, #3009, RENO, NV
                                                                                                                  89509-1360

TOTAL: 6


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            EOUST
ust                            LINDA EKSTROM STANLEY, NA, NA 0

TOTAL: 2 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
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District/off: 0978-3                                              User: admin                                                            Page 2 of 2
Date Rcvd: Jun 05, 2023                                           Form ID: nstap713                                                    Total Noticed: 10

belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 07, 2023                                        Signature:          /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 5, 2023 at the address(es) listed below:
Name                             Email Address
LUKE BUSBY
                                 on behalf of Plaintiff HERMAN MENEZES LLC luke@lukeandrewbusbyltd.com


TOTAL: 1
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NVB 9014(a) (Rev. 8/15)


                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA


 IN RE:                                                       BK−22−50266−nmc
                                                              CHAPTER 7
 ALVIN A. BRESCIANI ,
                                   Debtor(s)
                                                              Adversary Proceeding: 22−05012−hlb


 HERMAN MENEZES, LLC, et al,
                           Plaintiff(s)                       NOTICE OF RESCHEDULED SCHEDULING
                                                              CONFERENCE
 v.
                                                              Hearing Date:     6/21/23
 ALVIN BRESCIANI, et al,                                      Hearing Time:     09:30 AM
                                   Defendant(s)




NOTICE IS GIVEN that a rescheduled Scheduling Conference will be held before a United States Bankruptcy
Judge. Hearing information is as follows:

           Hearing Date:                6/21/23
           Hearing Time:                09:30 AM
           Hearing Phone Number:        (669) 254−5252
           Hearing Meeting ID:          160 532 0260
           Hearing Passcode:            643758


NOTICE IS FURTHER GIVEN that the hearing relates to the following entry on docket:

          9 − Amended Complaint Filed by LUKE BUSBY on behalf of HERMAN MENEZES, LLC against
          ALVIN BRESCIANI (BUSBY, LUKE)

This hearing is scheduled for the following reason:

          Judge reassignment. Please note new teleconference information..

The court's hearing calendar for the date scheduled by this Notice may be viewed at www.nvb.uscourts.gov up to five
days before the scheduled hearing date to determine whether or not the hearing has been kept on calendar.



Dated: 6/5/23


                                                           Mary A. Schott
                                                           Clerk of Court
